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                                                                USDC SDNY
UNITED STATES DISTRICT COURT                                    DOCUMENT
SOUTHERN DISTRICT OF NEW YORK                                   ELECTRONICALLY FILED
UNITED STATES OF AMERICA,                                       DOC #: _________________
                                                                DATE FILED: 10/20/2020

              -against-
                                                                         20 Cr. 412 (AT)

BRIAN KOLFAGE,                                                               ORDER
STEPHEN BANNON,
ANDREW BADOLATO, and
TIMOTHY SHEA,

                       Defendants.
ANALISA TORRES, District Judge:

        On October 20, 2020, counsel for Defendant Bannon requested an adjournment of the
status conference scheduled for October 26, 2020, due to a scheduling conflict. ECF No. 40.
This request was unopposed. Id. The conference scheduled for October 26, 2020, is hereby
ADJOURNED to November 9, 2020, at 1:00 p.m. using the Court’s videoconferencing
software. See In re Coronavirus/Covid-19 Pandemic, 20 Misc. 176, ECF No. 2 (S.D.N.Y. Sept.
16, 2020) (“[C]onditions, which are unlikely to be alleviated in the near future, make it
impossible for the judges in this District to conduct all criminal proceedings in person in the
courthouses,” including “[a]rraignments under Rule 10 of the Federal Rules of Criminal
Procedure.”). Chambers will provide the parties with instructions on how to appear via video.

        To optimize the quality of the video feed, only the Court, Defendants, defense counsel,
and counsel for the Government will appear by video for the proceeding. Co-counsel, members
of the press, and the public may access the audio feed of the conference by calling (888) 398-
2342 or (215) 861-0674 and entering access code 5598827. All of those accessing the
conference—whether in listen-only mode or otherwise—are reminded that recording or
rebroadcasting of the proceeding is prohibited by law.

       SO ORDERED.

Dated: October 20, 2020
       New York, New York
